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        ORDERED in the Southern District of Florida on December 6, 2019.




                                                              Laurel M. Isicoff
                                                              Chief United States Bankruptcy Judge
_____________________________________________________________________________

                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

        In re:
        Orestes Doreste Oquendo                                                Case No.: 19-22149-LMI
        Flor De Maria Ojeda-Doreste                                            Chapter 13

                       Debtor(s).
                                          /

           ORDER CONTINUING HEARING ON MOTION TO VALUE AND DETERMINE
                            SECURED STATUS OF LIEN OF
          POINT LAKE CONDO ONE ASSOCIATION, INC. ON REAL PROPERTY(ECF 37)

               THIS CAUSE came to be heard on December 3, 2019, upon the Debtors’ Motion to Value
        and Determine Secured Status of Lien on Real Property (ECF 37). The Court, having been advised
        that all parties in attendance agreed to a continuance of the matter, and with good cause having been
        shown, it is ORDERED:

               1.      The hearing on the Debtors’ Motion to Value and Determine Secured Status of Lien
        on Real Property (ECF 37) has been continued to January 7, 2020 at 9:00AM, to be held at:
        C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 8 (LMI), Miami, FL 33128

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Submitted by:
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NOWACK & OLSON, PLLC is directed to serve a conformed copy of this Order on all
interested parties immediately upon receipt hereof and to file a certificate of service.
